Case 2:14-cv-11916-GCS-SDD ECF No. 121-1, PageID.3922 Filed 07/12/16 Page 1 of 2




    Defendant's Response in Opposition to Plaintiff's Motion for Attorneys' Fees

                                 Index of Exhibits


       1. Unpublished Cases:
             Bailey v Scoutware, LLC, No. 12-10281, 2014 WL 11309770
               (E.D. Mich. Aug. 19, 2014)
             Gomery v Crest Fin., Inc., No. 250881, 2005 WL 658818 (Mich.
               Ct. App. Mar. 22, 2005)
             Richard v Oak Tree Grp. Inc., No. 1:06-362, 2009 WL 3234159
               (W.D. Mich. Sept. 30, 2009)
             Fialka-Feldman v Oakland Univ. Bd. of Trustees, No. 08-14922,
               2010 WL 2572768 (E.D. Mich. June 23, 2010)
             Dallas v Commr. of Soc. Sec., No. 1:13-CV-00591, 2014 WL
               1767815 (N.D. Ohio May 2, 2014)
             Sykes v Anderson, 2008 WL 4776837 (E.D. Mich. Oct. 31, 2008)
             Disabled Patriots of Am. V Genesis Dreamplex, LLC, No. 3:05-
               CV-7153, 2006 WL 2404140, (N.D. Ohio Aug. 18, 2006)
             Project Vote v Blackwell, No. 06-CV-1628, 2009 WL 917737,
               (N.D. Ohio Mar. 31, 2009)
             Helfman v GE Group Life Assurance Co., No. 06-13528, 2011 WL
               1464678 (E.D. Mich. April 18, 2011)
             Chad Youth Enhancement Ctr., Inc. v Colony Nat'l Ins. Co., No.
               3:09-9545, 2010 WL 4007300 (M.D. Tenn. Oct. 12, 2010)
             EEOC v Whirlpool Corp., No. 3:06-CV-0593, 2011 WL 3321291
               (M.D. Tenn. Aug. 2, 2011)
             Gibson v Scott, No. 2:12-CV-1128, 2014 WL 661716 (S.D. Ohio
               Feb. 19 2014)
             Heath v Metro. Life Ins. Co., No. 3:09-CV-0138, 2011 WL
               4005409 (M.D. Tenn. Sept. 8, 2011)
             Konstantinov v Findlay Ford Lincoln Mercury, No. 04-CV-74928,
               2008 WL 2922621, (E.D. Mich. July 28, 2008)
             Crown Enterprises, Inc. v City of Romulus, No. 286525, 2011 WL
               1687625 (Mich. Ct. App. May 3, 2011)
             Terry v Al-Naimi, No. 07-141-30, 2009 WL 728542 (E.D. Mich.
               March 19, 2009)

       2. Miglio Affidavit
Case 2:14-cv-11916-GCS-SDD ECF No. 121-1, PageID.3923 Filed 07/12/16 Page 2 of 2




       3. Miglio Email, dated May 6, 2016

       4. Emails produced by Plaintiff

       5. HFHS System-Wide Corrective Action Program HR Policy No. 5.17

       6. Defendant's First and Second Supplemental Responses to Plaintiff's First

          Interrogatories (Interrogatory No. 8)

       7. Spreadsheet re Unnecessary Tasks Billing Entries

       8. Spreadsheet re Redundant/Excessive Tasks Billing Entries

       9. Spreadsheet re Conference/Strategy Tasks Billing Entries

       10. Spreadsheet re Inconsistent Tasks Billing Entries

       11. Spreadsheet re Block Billed Tasks Billing Entries

       12. Spreadsheet re Clerical Tasks Billing Entries

       13. Spreadsheet re Vague Tasks Billing Entries

       14. Verloren Affidavit

       15. Jury Verdict Form
